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                          IN THE UNITED STATES DISTRICT COUR'rr:; !'~ _ .          ; •
                              FOR THE DISTRICT OF NEBRASKA             11       11
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        UNITED STATES OF AMERICA,
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                                                                                         [ "- •Lt~1l\


                          Plaintiff,               8:15CR61

                   V.

        MATTHEW M. LEONARD, and                    ORDER
        DAVID E. LEONARD,

                          Defendants.


                   This matter is before the Court on two related motions.

        The government has moved (Filing No. 32) that the Court set a

        trial date.     The defendants, Matthew (Filing No. 33) and David

        (Filing No. 34) Leonard, have moved for an extension of trial of

        60 days after June 8, 2015.         The government has no objection for

        this extension and the defendants' motions are unopposed.                        The

        defendants have also waived their right to a speedy trial.

                   IT IS ORDERED:

                   1) The plaintiff's motion (Filing No. 32)                is denied.

                   2) The defendants' motion (Filing No. 33)                is granted.

        The trial shall commence on or before August 10, 2015 and the

        defendants may file pretrial motions pursuant to the progression

        order before that time.        The ends of justice have been served by

        granting such motions and outweigh the interests of the public

        and the defendant in a speedy trial.           The additional time
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arising as a result of the granting of the motions, i.e., the

time between June 4, 2015, and August 10, 2015, shall be deemed

excludable time in any computation of time under the requirement

of the Speedy Trial Act for the reason defendants' counsel

require additional time to adequately prepare the case, taking

into consideration due diligence of counsel, and the novelty and

complexity of this case.            The failure to grant additional time

might result in a miscarriage of justice. 18 U.S.C.                   §


3161 (h) (8) (A)   &   (B).

            DATED this 4th day of June, 2015.

                                         BY THE COURT:         ~
                                         /s/ Lyle E. Stro~

                                         LYLE E. STROM, Senior Judge
                                         United States District Court




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